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Concurrence Proposed Intervening Defendant Robert
Davis' Motion To Intervene in the matter of Timothy King,
et.al.v Gov. Whitmer, et.al., Case No. 20-cv-13134,
Eastern District of Michigan, Judge Linda Parker
Inbox

Drew Paterson                                            Nov 26, 2020, 2:15 PM
                                                                   (5 days ago)
to Heather, Erik, scotthagerstrom@yahoo.com, gregoryrohl@yahoo.com, Lisa

Counsel,
I am writing on behalf of my client, Robert Davis, who is a Wayne
County registered voter that lawfully voted by absentee ballot in the
November 3, 2020 Presidential General Election. To ensure he is not
disenfranchised, and his vote is counted, my client will be filing a
motion to intervene as a defendant in the above-entitled matter. Will
you concur with his intervention as a defendant? Please advise ASAP.
Thanks.

Drew Paterson
(248) 568-9712
aap43@outlook.com
__________________________________________________________________
From: Gregory Rohl <gregoryrohl@yahoo.com>
Sent: Thursday, November 26, 2020 5:30 PM
To: aap43@outlook.com <aap43@outlook.com>
Subject: Re: Concurrence Proposed Intervening Defendant Robert Davis' Motion To Intervene in the
matter of Timothy King, et.al.v Gov. Whitmer, et.al., Case No. 20-cv-13134, Eastern District of Michigan,
Judge Linda Parker

Is ur client an attorney w whom I am familiar?

Sent from Yahoo Mail on Android

_____________________________________________________________________

Drew Paterson                                                               Nov 26, 2020, 6:30 PM
                                                                                      (5 days ago)
to Gregory
Case 2:20-cv-13134-LVP-RSW ECF No. 20, PageID.2108 Filed 12/01/20 Page 2 of 2




Mr. Rohl,
My client is not an attorney and I'm not sure why that is relevant with respect to our
request for concurrence for his motion to Intervene as a defendant. So again, I
respectfully ask: do you concur?


Drew Paterson
(248) 568-9712
aap43@outlook.com
____________________________________________________________________
From: Gregory Rohl <gregoryrohl@yahoo.com>
Sent: Thursday, November 26, 2020 9:15 PM
To: aap43@outlook.com <aap43@outlook.com>
Subject: Re: Concurrence Proposed Intervening Defendant Robert Davis' Motion To Intervene in the
matter of Timothy King, et.al.v Gov. Whitmer, et.al., Case No. 20-cv-13134, Eastern District of Michigan,
Judge Linda Parker

Fine with me

Sent from Yahoo Mail on Android

_____________________________________________________________________
Drew Paterson                                      Nov 26, 2020, 9:34 PM
                                                             (5 days ago)
to Heather, Erik, Lisa, Gregory

Mr. Rohl,
Thank you for providing your concurrence. I will await to receive a response from
Assistant Attorneys General Meingast and Grill.


Drew Paterson
(248) 568-9712
aap43@outlook.com
